 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 1 of 14 Page ID #:2104




1    DEBORAH CONNOR, Chief
     Money Laundering and Asset Recovery Section (MLARS)
2    MARY BUTLER
     Chief, International Unit
3    WOO S. LEE
     Deputy Chief, International Unit
4    KYLE R. FREENY, Trial Attorney
     JOSHUA L. SOHN, Trial Attorney
5    BARBARA LEVY, Trial Attorney
     Criminal Division
6    United States Department of Justice
       1400 New York Avenue, N.W., 10th Floor
7      Washington, D.C. 20530
       Telephone: (202) 514-1263
8      Email: Woo.Lee@usdoj.gov
9    NICOLA T. HANNA
     United States Attorney
10   STEVEN R. WELK
     Assistant United States Attorney
11   Chief, Asset Forfeiture Section
     JOHN J. KUCERA (CBN: 274184)
12   MICHAEL R. SEW HOY (CBN: 243391)
     Assistant United States Attorneys
13   Asset Forfeiture Section
       312 North Spring Street, 14th Floor
14     Los Angeles, California 90012
       Telephone: (213) 894-3391/(213) 894-3314
15     Facsimile: (213) 894-0142
       Email: John.Kucera@usdoj.gov
16         Michael.R.Sew.Hoy@usdoj.gov
17
     Attorneys for Plaintiff
18   UNITED STATES OF AMERICA
19
                             UNITED STATES DISTRICT COURT
20
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
21
     UNITED STATES OF AMERICA,                No. CV 16-5364-DSF (PLAx)
22
                Plaintiff,
23                                            STIPULATION AND REQUEST TO
                       v.                     ENTER CONSENT JUDGMENT OF
24                                            FORFEITURE
     ANY RIGHTS TO PROFITS,
25   ROYALTIES AND DISTRIBUTION
     PROCEEDS OWNED BY OR OWED                [The [PROPOSED] Consent Judgment of
26   RELATING TO EMI MUSIC                    Forfeiture Lodged Contemporaneously
     PUBLISHING GROUP,
27                                            Herewith Is Dispositive of This Action]
             Defendant.
28 _________________________________
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 2 of 14 Page ID #:2105




1 JW NILE (BVI) LTD.,
2
                 Claimant.
3
4
5          I.     INTRODUCTION
6          1.     By the signatures of their counsel hereunder, Plaintiff United States of
7    America (“United States” or “the government”); FFP (Cayman) Limited, FFP Trustee
8    (NZ) Limited, and FFP (Directors) Limited, FFP (Corporate Services) Limited
9    (collectively, “FFP”); the FFP-controlled claimants identified below, including the
10   Claimant herein, JW Nile (BVI) Ltd. (together collectively with “FFP,” the “Claimant
11   Entities”); and beneficiaries Low Hock Peng, Goh Gaik Ewe, Low May Lin, Low Taek
12   Szen, and Low Taek Jho (collectively, the “Low Family”), respectfully request that the
13   Court enter the [PROPOSED] Consent Judgment of Forfeiture (the “[Proposed] Consent
14   Judgment”) lodged contemporaneously herewith, to carry into effect the terms of this
15   stipulation (the “Stipulation”), which is dispositive of this action.
16         II.    PROCEDURAL HISTORY
17                A.     The Related Forfeiture Cases
18         2.     During 2016 and 2017, the government commenced thirty related civil
19   forfeiture cases in the Central District of California (the “Actions”) against a wide
20   variety of real and personal property defendants located in the United States and abroad
21   (the “Defendant Assets”)1, as set forth in further detail below.
22
23
24         1
             The Defendant Assets are either the res or the proceeds of the interlocutory sale
25   of the res (“substitute res”) as identified in further detail in the legal descriptions
     provided in the operative Verified Complaints of Forfeiture filed in the cases listed in
26
     Section II.B below, and this Stipulation incorporates those descriptions by reference. The
27   Defendant Assets are owned either personally by members of the Low Family and/or by
     the Claimant Entities. FFP directly owns and/or controls each of the Claimant Entities
28
     either through a trust structure and/or shareholding(s) and/or directorship(s).
                                                     2
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 3 of 14 Page ID #:2106




1                 a.     The United States initiated this civil forfeiture action on July 20,
2    2016. (Docket Number (“DN”) 1). A First Amended Complaint (“FAC”) was filed on
3    August 4, 2017. (DN 140). Notice was given and published according to law. On
4    October 31, 2016, Low Hock Peng, Goh Gaik Ewe, Low Taek Szen and Low May Lin
5    filed a verified claim (DN 36), which claim was subsequently withdrawn on May 9,
6    2017. (DN 129). On December 22, 2016, EMI Music Publishing Management, LLC
7    (“EMI”) filed a verified claim in response to the Complaint (DN 80) and, on October 3,
8    2017, a verified claim in response to the FAC. (DN 150). EMI thereafter filed an
9    answer to the FAC on October 24, 2017. (DN 156). On April 4, 2019, EMI withdrew
10   its claims and answer. (DN 177).
11                 b.    Pursuant to this Court’s Order of March 21, 2017 (DN 122), claims
12   were filed on March 24, 2017 by Claimant JW Nile (BVI) Ltd. (DN 126, in response to
13   the Complaint) and October 11, 2017 (DN 152, in response to the FAC). On October 30,
14   2018, this Court entered an Order resolving all interests of EMI, and authorizing an
15   interlocutory sale of the defendant asset. (DN 172). Said sale resulted in net proceeds of
16   $415,055,702.34, which proceeds are currently in the custody of the United States
17   Marshals Service as a substitute res. (DN 173). JW Nile (BVI) Ltd. remains the sole
18   claimant in this action, and the time for filing claims and answers has expired.
19         3.     The government, FFP, the Claimant Entities, and the Low Family, which
20   for the avoidance of doubt includes, collectively and individually, each of their
21   predecessors, assigns, subsidiaries, parent companies, and affiliated entities (the
22   “Parties”), have executed this Stipulation in order to reach a global, comprehensive
23   agreement that forever resolves in their entirety the competing interests of the Parties in
24   the Actions listed below.2
25         4.     This Stipulation does not constitute an admission of guilt, fault, liability
26   and/or any form of wrongdoing on the part of FFP, the Claimant Entities, or the Low
27
           2
              However, it is not necessarily dispositive of all of the Actions, as others not
28
     parties to this Stipulation are claimants in some of the Actions, as noted.
                                                    3
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 4 of 14 Page ID #:2107




1    Family. Furthermore, upon entry of the [Proposed] Consent Judgment, the U.S.
2    Attorney’s Office for the Central District of California and the United States Department
3    of Justice, Criminal Division, acknowledge and agree that they shall be bound by the
4    terms of the Consent Judgment and the doctrines of res judicata and collateral
5    estoppel. The entry of the [Proposed] Consent Judgment shall resolve all of the
6    government’s civil, criminal, and administrative asset forfeiture actions or proceedings
7    relating to the Defendant Assets as they relate to FFP, the Claimant Entities, or members
8    of the Low Family, arising from any acts or omissions alleged in the Actions, or any of
9    them. Nothing in this Stipulation constitutes a waiver or release by the government of
10   criminal claims, except for the asset forfeiture claims related to the Defendant Assets.
11         5.     A Stipulation essentially identical to this one is being filed in each of the
12   Actions, and the extent to which the [Proposed] Consent Judgment in each Action will
13   result in the disposition of the case is explained in each specific Stipulation and
14   [Proposed] Consent Judgment. For the avoidance of doubt, where a Defendant Asset is
15   subject to an order for interlocutory sale (the “Order(s) for Interlocutory Sale”), such
16   order shall govern that interlocutory sale, and neither this Stipulation nor the [Proposed]
17   Consent Judgement, once entered, shall abrogate or nullify the sales terms and
18   procedures defined by an Order for Interlocutory Sale, or any underlying contracts or
19   agreements entered into to effectuate those sales terms and procedures, unless otherwise
20   agreed to in writing by the Parties.
21                B.      The Cases and Claims to Be Resolved
22         6.     The Parties seek entry of [Proposed] Consent Judgments in each of the
23   following Actions that will be case-dispositive due to the lack of presence of other
24   claimants:
25                a.     United States v. One Bombardier Global 5000 Jet Aircraft, Bearing
26   Manufacturer’s Serial Number 9265 and Registration Number N689WM, its Tools and
27   Appurtenances, and Aircraft Logbooks, CV 16-5367 DSF (PLAx) (“Bombardier Jet
28
                                                   4
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 5 of 14 Page ID #:2108




1    Action”). The FFP-controlled claimant in this action is Global One Aviation (Global
2    5000) Ltd.
3                 b.    United States v. Real Property Located in New York, New York, CV
4    16-5374 DSF (PLAx) (“Columbus Action”). The FFP-controlled claimant in this action
5    is 80 Columbus Circle (NYC) LLC.
6                 c.    United States v. Real Property Located in New York, New York, CV
7    16-5375 DSF (PLAx) (“Greene Action”). The FFP-controlled claimant in this action is
8    118 Greene Street (NYC) LLC.
9                 d.    United States v. Real Property Located in Los Angeles, California,
10   CV 16-5378 DSF (PLAx) (“Oriole Action”). The FFP-controlled claimant in this action
11   is Oriole Drive (LA) LLC.
12                e.    United States v. Real Property in London, United Kingdom, owned by
13   Stratton Street (London) Ltd., CV 17-4240 DSF (PLAx) (“Stratton Action”). The FFP-
14   controlled claimant in this action is Stratton Street (London) Limited.
15                f.    United States v. Real Property in London, United Kingdom, owned by
16   Seven Stratton Street (London) Ltd., CV 17-4242 DSF (PLAx) (“Seven Stratton
17   Action”). The FFP-controlled claimant in this action is Seven Stratton Street (London)
18   Ltd.
19                g.    United States v. Real Property in London, United Kingdom owned by
20   Eight Nine Stratton Street (London) Ltd., CV 17-4244 DSF (PLAx) (“Eight Nine
21   Stratton Action”). The FFP-controlled claimant in this action is Eight Nine Stratton
22   Street (London) Ltd.
23                h.    United States v. Certain Rights and Interests in the Electrum Group,
24   CV 17-4447 DSF (PLAx) (“Electrum Action”). The FFP-controlled claimant in this
25   action is JW Aurum (Cayman) GP Ltd.
26                i.    United States v. All Rights to and Interests in the Shares of Flywheel
27   Common Stock Held or Acquired by FW Sports Investments LLC, CV 17-4448 DSF
28
                                                  5
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 6 of 14 Page ID #:2109




1    (PLAx) (“Flywheel Action”). The FFP-controlled claimant in this action is FW Sports
2    Investments LLC.
3                 j.     United States v. Any Rights to Profits, Royalties and Distribution
4    Proceeds Owned by or Owed to JW Nile (BVI) Ltd., JCL Media (EMI Publishing Ltd),
5    and/or Jynwel Capital Ltd, Relating to EMI Music Publishing Group North America
6    Holdings, Inc., and D.H. Publishing L.P., CV 16-5364 DSF (PLAx) (“EMI Publishing
7    Action”). The FFP-controlled claimant in this action is JW Nile (BVI) Ltd.
8            7.   The Parties seek entry of [Proposed] Consent Judgments in each of the
9    following Actions that will resolve all claims of FFP, the Claimant Entities, and
10   members of the Low Family, but which will not be case-dispositive due to the presence
11   of other claimants not party to this Stipulation:
12                a.     United States v. The Real Property Known as The Viceroy
13   L’Ermitage Beverly Hills, CV 16-5368 DSF (PLAx) (“L’Ermitage Real Property
14   Action”). The FFP-controlled claimant in this action is LBH Real Estate (Beverly Hills)
15   LLC. The claimant not party to this Stipulation in this case is VHG Beverly Hills LLC.
16                b.     United States v. All Business Assets of The Viceroy L’Ermitage
17   Beverly Hills, Including All Chattels and Intangible Assets, Inventory, Equipment, and
18   All Leases, Rents and Profits Derived Therefrom, CV 16-5369 DSF (PLAx)
19   (“L’Ermitage Business Assets Action”). The FFP-controlled claimants in this action are
20   LBH Real Estate (Beverly Hills) LLC; JW Hospitality (VHG US) LLC; and JW
21   Hospitality (VHG Intl) Ltd. The claimant not party to this Stipulation in this case is
22   VHG Beverly Hills LLC.
23                c.     United States v. Certain Rights to and Interests in The Viceroy Hotel
24   Group, CV 17-4438 DSF (PLAx) (“VHG Action”). The FFP-controlled claimants in this
25   action are JW Hospitality (VHG US) LLC and JW Hospitality (VHG Intl) Ltd. The
26   claimant not party to this Stipulation in this case is Mubadala Development Company
27   PJSC.
28
                                                   6
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 7 of 14 Page ID #:2110




1          8.     The following cases previously have been resolved but are considered part
2    of this global, comprehensive resolution:
3                 a.     United States v. All Right and Title to the Yacht M/Y Equanimity, CV
4    17-4441 DSF (PLAx) (“Equanimity Action”). The FFP-controlled claimants in this
5    action were Equanimity (Cayman) Ltd.; Equanimity Crew (Cayman) Ltd.; Equanimity
6    Lifestyle (Cayman) Ltd.; and Equanimity Operations & Maintenance (Cayman) Ltd. The
7    case was dismissed without prejudice by joint stipulation of the parties.
8                 b.     United States v. All Right to and Interest in Symphony CP (Park
9    Lane) LLC, Held or Acquired, Directly or Indirectly, by Symphony CP Investments LLC
10   and/or Symphony CP Investments Holdings LLC, Including Any Interest Held or Secured
11   by the Real Property and Appurtenances Located at 36 Central Park South, New York,
12   New York, Known as The Park Lane Hotel, Any Right to Collect and Receive Any Profits
13   and Proceeds Therefrom, and Any Interest Derived From the Proceeds Invested in The
14   Symphony CP (Park Lane) LLC by Symphony CP Investments LLC and Symphony
15   CP(Park Lane) LLC, CV 16-5370 DSF (PLAx) (“Park Lane Action”). The FFP-
16   controlled claimants in this action were 36 CPS Condos (NYC) LLC; 36 CPS Luxury
17   Hotel (NYC) Limited; 36 CPS Parking (NYC) Limited; and 36 CPS Residential Sales
18   (NYC) Limited. The FFP-controlled claimants withdrew their claims, and a consent
19   judgment of forfeiture was entered by the Court thereafter.
20         III.   JURISDICTION AND TERMS
21                A.     Jurisdiction
22         9.     Solely for purposes of this Stipulation and [Proposed] Consent Judgment,
23   the Parties agree that this Court has jurisdiction over the Parties and over the subject
24   matter of the Actions. The Parties further agree that the government has given and
25   published notice of the Actions as required by law, including Supplemental Rule G for
26   Admiralty or Maritime Claims and Asset Forfeiture Actions, Federal Rules of Civil
27   Procedure, and the Local Rules of this Court; and, if taken as true, the allegations set out
28
                                                   7
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 8 of 14 Page ID #:2111




1    in the operative complaints are sufficient to state a claim for forfeiture of the Defendant
2    Assets.
3            10.   Notwithstanding Paragraph 9 above, the Parties agree that nothing
4    contained in this Stipulation or the [Proposed] Consent Judgment is intended or should
5    be interpreted as an admission of fault, guilt, liability and/or any form of wrongdoing by
6    FFP, the Claimant Entities, and/or the Low Family, each of which expressly denies any
7    fault, guilt, liability and/or any form of wrongdoing whatsoever.
8                  B.    Disposition of Forfeited Defendant Assets and Substitute Res
9            11.   Upon entry of the [Proposed] Consent Judgment, all right, title, and interest
10   of FFP, the Claimant Entities, and the Low Family concerning the Defendant Assets
11   named in the Actions listed in Section II.B above shall immediately be forfeited to the
12   United States, and no other right, title, or interest shall exist therein, unless otherwise
13   provided in this Stipulation, with the exception of the Defendant Assets in the Stratton
14   Action, the Seven Stratton Action, and the Eight Nine Stratton Action (collectively, the
15   “Stratton Actions”), which shall not be deemed forfeited until February 29, 2020, subject
16   to Paragraph 12, below.
17           12.   Where a Defendant Asset in the Stratton Actions is sold to a third party in
18   an interlocutory sale prior to February 29, 2020, the proceeds of such sale shall be
19   considered forfeited as the substitute res for the Defendant Asset in that Stratton Action
20   on the date the sale is completed. A sale shall be considered “completed” after (1) the
21   sales proceeds have been released from escrow, and (2) the sales proceeds have been
22   distributed in accordance with the terms of the applicable Order(s) for Interlocutory
23   Sale.
24           13.   Upon entry of the [Proposed] Consent Judgment, the pre-existing contracts
25   that FFP and/or the Claimant Entities have entered into with third parties in relation to
26   the sale of the Defendant Assets in the Oriole Action, the Greene Action, and the
27   Columbus Action will be terminated, and new contracts with substantially similar
28   material terms executed between the government and those third parties will govern.
                                                    8
 Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 9 of 14 Page ID #:2112




1          14.    Any and all monetary proceeds from income (“Income Proceeds”)
2    generated from the operations and business activities of the Defendant Assets in the
3    Greene Action, the Columbus Action, the L’Ermitage Real Property Action, the
4    L’Ermitage Business Assets Action, and the Stratton Actions (collectively the “Income
5    Property Actions”), including but not limited to rental income and/or income from hotel
6    operations, shall be paid to and retained by the government for payments or
7    reimbursement of any taxes or liabilities becoming due on said Income Proceeds prior to
8    forfeiture, from the respective filing dates of each Income Property Action through the
9    date of entry of this Stipulation. For the avoidance of doubt, in no event will the United
10   States be liable for the payment of any tax liabilities that exceed the amount of the
11   Income Proceeds unless pursuant to a separate court order.
12                C.      Released Funds
13         15.    The [Proposed] Consent Judgment provides that in consideration of the
14   government’s release of the sum of USD 15,000,000.00, without interest (the “Released
15   Funds”), as described below, FFP, the Claimant Entities, and the Low Family shall
16   forfeit to the government any right, title or interest in the Defendant Assets, except in
17   accordance with the terms of this Stipulation and the [Proposed] Consent Judgment.
18         16.    The Released Funds shall be drawn from a portion of the funds held in
19   escrow in the instant action (“EMI Proceeds”), and shall be transferred to accounts as
20   directed by Kobre & Kim LLP, The Christie Law Firm LLC, and Lowenstein Sandler
21   LLP, who shall provide any reasonable information required, including personal
22   identifiers required by federal law or regulation to facilitate payment, and complete all
23   documents required to facilitate such payment. The payment of the Released Funds shall
24   be made as soon as reasonably practicable, and in any event before the later of (i) 30
25   days after the entry of the [Proposed] Consent Judgment in all of the Actions in which a
26   version of this Stipulation is filed; (ii) 30 days after the government’s receipt of the
27   information needed to make the payment (including the necessary identifiers and bank
28
                                                   9
     Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 10 of 14 Page ID
                                      #:2113



1    account and routing information); or (iii) 14 days after the granting of the Cayman court
2    petition, as referenced in Paragraph 25.
3          17.    The Released Funds shall be applied in their entirety solely to pay for the
4    Low Family’s outstanding legal fees and costs relating to the Actions. Under no
5    circumstances shall the Released Funds be remitted and/or credited back by counsel,
6    either in whole or in part, directly or indirectly, to FFP, the Claimant Entities, or the Low
7    Family For the avoidance of doubt, the application, and/or use of the Released Funds as
8    payment of legal fees and costs relating to the Actions listed in Section II.B above,
9    including for use as payment of future legal fees and costs incurred on behalf of the Low
10   Family to implement the Order entered pursuant to this Stipulation, shall not itself be
11   considered a remittance, credit, and/or benefit whatsoever, directly or indirectly, to FFP,
12   the Claimant Entities, or the Low Family. The Parties agree that violation of this term
13   would constitute a material breach of the [Proposed] Consent Judgment and,
14   notwithstanding any other provision of the [Proposed] Consent Judgment, would entitle
15   the government to seek, and this Court to impose, any remedy or sanction authorized by
16   law or equity.
17         18.     With the exception of the foregoing conditions, and consistent with the
18   doctrines of res judicata and collateral estoppel, the entry of the [Proposed] Consent
19   Judgment shall resolve all of the government’s civil, criminal, and administrative asset
20   forfeiture actions or proceedings relating to the Released Funds or any interest earned on
21   the Released Funds as they relate to FFP, the Claimant Entities, or members of the Low
22   Family, arising from any acts or omissions alleged in the Actions, or any of them.
23         19.    Furthermore, and with the exception of the aforementioned conditions, the
24   government agrees that upon entry of the [Proposed] Consent Judgment, the U.S.
25   Attorney’s Office for the Central District of California and the United States Department
26   of Justice, Criminal Division, shall not now or in the future institute any action against
27   Kobre & Kim LLP, The Christie Law Firm LLC, or Lowenstein Sandler LLP, or seek
28   the seizure, freezing, return, forfeiture, or restraint of any kind of any of the Released
                                                   10
     Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 11 of 14 Page ID
                                      #:2114



1    Funds, or any interest earned on the Released Funds, for any acts or omissions relating to
2    the Released Funds and preceding the date of receipt of the Released Funds.
3                 D.     Other Terms
4          20.    FFP, the Claimant Entities, and the Low Family agree that they will not
5    contest or assist any other individual or entity in contesting the forfeiture --
6    administrative, civil judicial, or criminal judicial -- of any of the Defendant Assets
7    against which forfeiture is sought in connection with the acts alleged in the operative
8    complaints in the Actions. Upon request of the government, FFP, the Claimant Entities,
9    and the Low Family agree to reasonably cooperate with the government in endorsing the
10   effectiveness of this agreement when responding to any claims contesting the forfeiture
11   of the Defendant Assets, including the disposition thereof, and in connection with any
12   disputes relating to the operation and maintenance of the Defendant Assets concerning or
13   during the period prior to the date of this Stipulation. The Parties further agree to
14   reasonably cooperate to effectuate the forfeiture of additional assets at issue in United
15   States v. One Pen and Ink Drawing by Vincent Van Gogh, etc., et al., CV 16-5366-DSF
16   (PLAx); United States v. One Painting Entitled “Nature Morte au Crane de Taureau”
17   by Pablo Picasso, et al., CV 17-4443-DSF (PLAx); United States v. One Pair of
18   Diamond Earrings and Matching Diamond Ring, CV 17-4449-DSF (PLAx); and United
19   States v. One 18-Carat White Gold Diamond Jewelry Set; et al, CV 17-4445-DSF
20   (PLAx).
21         21.    For the avoidance of doubt, the following shall not be a breach of the
22   foregoing clauses: (1) asserting defenses in any actions brought against FFP, the
23   Claimant Entities, or members of the Low Family by third parties seeking to recover any
24   of the Defendant Assets (or any substitute res) following the Court’s entry of the
25   applicable [Proposed] Consent Judgment; and (2) judicially mandated compliance by
26   FFP, the Claimant Entities, and/or members of the Low Family with valid subpoenas ad
27   testificandum, subpoenas duces tecum, or otherwise lawful compulsion orders. Nothing
28   in this paragraph shall require FFP, the Claimant Entities, or members of the Low
                                                   11
     Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 12 of 14 Page ID
                                      #:2115



1    Family to waive attorney-client privilege, the work product doctrine, or any other
2    privilege, immunity, or statutory or constitutional right or protection.
3          22.    By the signatures of their attorneys hereunder, FFP, the Claimant Entities,
4    and the Low Family release the government, its agencies, agents, officers, and attorneys,
5    including employees and agents of the Federal Bureau of Investigation, Internal Revenue
6    Service, and the Department of Justice, from any and all claims, actions, or liabilities
7    arising out of or related to the seizure and retention of the Defendant Assets and the
8    commencement of the Actions, including any claim for attorneys’ fees or costs that may
9    be asserted on behalf of FFP, the Claimant Entities, or the Low Family against the
10   government, whether pursuant to 28 U.S.C. § 2465 or otherwise. If FFP, the Claimant
11   Entities, and the Low Family, or any of them, submitted a petition for remission in any
12   of the Actions, such petitions are hereby withdrawn, and FFP, the Claimant Entities, and
13   the Low Family waive any rights they may have, individually or collectively, to seek
14   remission or mitigation of the forfeiture of the Defendant Assets in any of the Actions.
15         23.    The Parties stipulate and agree that the government may request receipt of
16   documents and/or information relating to the Defendant Assets for purposes of managing
17   and liquidating the Defendant Assets, and that FFP and the Claimant Entities shall make
18   good faith efforts to produce any such documents and/or information in their possession,
19   or otherwise request that third-parties in possession of such documents and/or
20   information make them readily available for the government’s receipt, as set forth in the
21   separate letter agreement dated October 30, 2019.
22         24.    The Parties stipulate and agree that the Court’s entry of the respective
23   [Proposed] Consent Judgment shall be the final and complete satisfaction of all claims
24   asserted by the government and FFP, the Claimant Entities, and members of the Low
25   Family as relates to the Actions.
26         25.    The Parties jointly acknowledge and agree that, as a condition precedent to
27   the forfeiture of the Defendant Assets held in trusts, FFP shall petition the foreign courts
28   in the relevant trust jurisdictions – New Zealand and/or Cayman Islands – for orders
                                                  12
     Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 13 of 14 Page ID
                                      #:2116



1    known as “blessing orders” and other protective orders that would authorize FFP to
2    forfeit or otherwise distribute the Defendant Assets to the United States in accordance
3    with the orders of this Court.
4          26.    The Parties further acknowledge and agree that in effectuating the terms of
5    this Stipulation and the [Proposed] Consent Judgment of Forfeiture lodged
6    contemporaneously herewith, the Parties shall act in accordance with the laws and
7    regulations of the foreign jurisdiction(s) in which the relevant Defendant Assets are
8    located insofar as such laws and regulations are consistent with U.S. law.
9          27.    Should any dispute arise about the interpretation of or compliance with the
10   terms of this Stipulation, the Parties shall attempt in good faith to resolve any such
11   disputes. However, should the Parties be unable to resolve a dispute, either party may
12   move the Court to impose any remedy this Court deems necessary to enforce the terms
13   of this Stipulation and [Proposed] Consent Judgment.
14         28.    The Parties agree that this Stipulation is entered into for the sole purpose of
15   serving as a global comprehensive resolution agreement forever resolving the competing
16   interests of the Parties in the Actions, so as to avoid the expenses and risks associated
17   ///
18   ///
19
20
21
22
23
24
25
26
27
28
                                                  13
     Case 2:16-cv-05364-DSF-PLA Document 180 Filed 10/30/19 Page 14 of 14 Page ID
                                      #:2117



1    with continued litigation. Each of the Parties shall bear its own fees and costs in
2    connection with the Actions in a manner consistent with the terms of this Stipulation.
3
4     Dated: October 30, 2019                   Respectfully submitted,
5
                                                DEBORAH CONNOR
6                                               Chief, MLARS
                                                NICOLA T. HANNA
7
                                                United States Attorney
8
                                                       /s/
9
                                                JOHN J. KUCERA
10                                              Assistant United States Attorney
                                                WOO S. LEE
11
                                                Deputy Chief, MLARS
12
13                                              Attorneys for Plaintiff
                                                UNITED STATES OF AMERICA
14
15
      Dated: October 30, 2019                         /s/
16                                             EKWAN E. RHOW
                                               JEREMY D. MATZ
17                                             NAEUN RIM
                                               PATRICIA H. JUN
18                                             NITHIN KUMAR
                                               Bird, Marella, Boxer, Wolpert, Nessim,
19                                             Drooks, Lincenberg & Rhow, P.C.
20                                             Attorneys for FFP and the Claimant Entities
21                                             JW NILE (BVI) LTD.,
22                                                    /s/
23                                             ROBIN RATHMELL
      Dated: October 30, 2019                  Kobre & Kim LLP
24
                                               Attorneys for the Low Family
25
                                               And on behalf of The Christie Law Firm LLC
26                                             and Lowenstein Sandler LLP, Attorneys for
                                               Low Taek Jho
27
28
                                                  14
